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Form 12 - Travel
D/NV Form
Rev. June 2014



                                 United States District Court
                                             for
                                   the District of Nevada

                           REQUEST FOR TRAVEL OUTSIDE
                          THE CONTIGUOUS UNITED STATES


Name of Offender: Jose Luis Alvarez

Case Number: 2:13CR00018

Name of Sentencing Judicial Officer: Honorable James C. Mahan

Date of Original Sentence: May 21, 2015

Original Offense: Conspiracy to Commit Mail and Wire Fraud

Original Sentence: 12 Months and one day prison, followed by 36 Months TSR.

Date Supervision Commenced: July 1, 2016


                                          SUMMARY

Mr. Alvarez has submitted a request to travel Mexicali, Baha California to visit his wife from
December 23, 2016, to January 3, 2017. Mr. Alvarez plans on driving his personal vehicle to
and from Mexicali.

Mr. Alvarez is currently in compliance with all conditions of supervised release and has not
incurred any known violations. The probation office respectfully requests that Mr. Alvarez be
allowed to travel to Mexicali. The offender is aware that if the Court does not authorize travel,
he must remain in the United States until he satisfactorily completes his term of supervised
release.


                                                    Respectfully submitted,
                                                                       Jodona L. Brown
                                                                       2016.11.10
                                                                       15:09:55 -08'00'
                                                    ______________________________
                                                    Jodona L. Brown
                                                    United States Probation Officer
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                                  RE: Jose Luis Alvarez
Form 12 - Travel
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Rev. June 2014



Approved:
                     Todd Fredlund
                     2016.11.08
__________________________________________
Todd J. Fredlund
                     14:54:36 -08'00'
Supervisory United States Probation Officer



THE COURT ORDERS


X
‫܆‬        Requested Travel is Approved

‫܆‬        Requested Travel is Denied

‫܆‬        Other




                                              _____________________________
                                              Signature of Judicial Officer
                                               November 29, 2016
                                              _____________________________
                                              Date
